
668 S.E.2d 26 (2008)
Breta GILLIS
v.
MONTGOMERY COUNTY SHERIFF'S DEPARTMENT, and Fidelity &amp; Deposit Company of Maryland.
No. 380P08.
Supreme Court of North Carolina.
October 9, 2008.
B. Ervin Brown, II, Winston-Salem, for Gillis.
Peter G. Pappas, Greensboro, for Sheriffs Dept., et al.
Prior report: ___ N.C.App. ___, 663 S.E.2d 447.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 18th day of August 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendants, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 9th day of October 2008."
Upon consideration of the petition filed on the 18th day of August 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
